                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: WILLIAM V. CORNISH and                         : CHAPTER 13
       PAMELA V. CORNISH                              :
           Debtors                                    :
                                                      :
         JACK N. ZAHAROPOULOS                         :
         STANDING CHAPTER 13 TRUSTEE                  :
             Movant                                   :
                                                      :
               vs.                                    :
                                                      :
         WILLIAM V. CORNISH and                       :
         PAMELA V. CORNISH                            :
             Respondents                              : CASE NO. 1-18-bk-02418


          TRUSTEE’S OBJECTION TO SECOND AMENDED CHAPTER 13 PLAN

               AND NOW, this 17th day of May, 2022, comes Jack N. Zaharopoulos, Standing
Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’ plan for the
following reason(s):

               1. The Trustee avers that debtor(s)’ plan is not feasible based upon the following:

                     a. The plan is underfunded relative to claims to be paid –
                        not enough to pay claims in plan, needed amount is
                        $54,309.96.

                     b. Plan ambiguous – Base amount.

               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:

                     a. Deny confirmation of debtor(s) plan.
                     b. Dismiss or convert debtor(s) case.
                     c. Provide such other relief as is equitable and just.

                                                  Respectfully submitted:

                                                  Jack N. Zaharopoulos
                                                  Standing Chapter 13 Trustee
                                                  8125 Adams Drive, Suite A
                                                  Hummelstown, PA 17036
                                                  (717) 566-6097

                                     BY:          /s/Douglas R. Roeder
                                                  Attorney for Trustee

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                                  CERTIFICATE OF SERVICE

               AND NOW, this 17th day of May, 2022, I hereby certify that I have served the
within Objection by electronically notifying parties or by depositing a true and correct copy of the
same in the United States Mail at Hummelstown, Pennsylvania, postage prepaid, first class mail,
addressed to the following:

Keith DeArmond, Esquire
924 Colonial Avenue, Bldg. N
Suite 305
York, PA 17403



                                                  /s/Deborah A. Behney
                                                  Office of Jack N. Zaharopoulos
                                                  Standing Chapter 13 Trustee




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